 Case 2:07-cr-20167-KHV          Document 709        Filed 07/31/12     Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )                    CRIMINAL ACTION
                                            )
v.                                          )                    No. 07-20167-08-KHV
                                            )
CHARLES R. SINGLETON,                       )
                                            )
                         Defendant.         )
____________________________________________)

                               MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion Audita Querela Pursuant To Title 28

U.S.C. 1651 All Writs Act Asking District Court To Correct Its Final 21.846 Conspiracy Conviction

Sentencing Judgment Consistent With The Court’s Factual Finding At Sentencing That Defendant

Was Not Guilty Or Reasonably Foreseeable For 5 Kilos Of Cocaine Or 50 Grams Of Cocaine Base

In Violation Of 21.841(b)(1)(A) Offense Penalties (Doc. #703) filed May 29, 2012. For reasons

stated below, the Court overrules defendant’s motion for lack of jurisdiction.

       A writ of audita querela is not available to a defendant when other remedies exist such as

a motion to vacate sentence under 28 U.S.C. § 2255.1 See United States v. Torres, 282 F.3d 1241,

1245 (10th Cir. 2002). After a defendant has exhausted his direct appeal in a criminal action, his

exclusive remedy for raising a challenge to his sentence is under Section 2255 unless that remedy

is inadequate or ineffective. See United States v. McIntyre, 313 Fed. Appx. 160, 162 (10th Cir.



       1
               The writ of audita querela is used to challenge a judgment that was correct at the
time it was entered but which it would be unjust to execute because of matters which arise after it
was entered. United States v. Torres, 282 F.3d 1241, 1245 n.6 (10th Cir. 2002); Oliver v. City of
Shattuck ex rel. Versluis, 157 F.2d 150, 153 (10th Cir. 1946). The Tenth Circuit has questioned
whether a writ of audita querela may ever issue in the criminal context. See United States v.
Ballard, 334 Fed. Appx. 141, 143 (10th Cir. 2009).
 Case 2:07-cr-20167-KHV            Document 709         Filed 07/31/12       Page 2 of 4




2009); Bradshaw v. Story, 86 F.3d 164, 166 (10th Cir. 1996). Failure to obtain relief under

Section 2255 does not establish that the remedy so provided is either inadequate or ineffective.

Bradshaw, 86 F.3d at 166. A defendant cannot avoid the bar against successive Section 2255

petitions by simply styling a petition under a different name. Torres, 282 F.3d at 1246.

        The Court in its discretion construes defendant’s present motion as a second or successive

petition under 28 U.S.C. § 2255.2 Pursuant to the Antiterrorism and Effective Death Penalty Act of

1996, a defendant may not file a second or successive motion pursuant to Section 2255 unless he

first applies to the appropriate court of appeals for an order authorizing the district court to consider

the motion. See 28 U.S.C. §§ 2244(b)(3), 2255(h). If defendant files a second or successive motion

without first seeking the required authorization, the district court may (1) transfer the motion to the

appellate court if it determines that it is in the interest of justice pursuant to 28 U.S.C. § 1631 or

(2) dismiss the motion for lack of jurisdiction. See In re Cline, 531 F.3d 1249, 1252 (10th Cir.

2008). The Court has discretion in making a decision to transfer an action or instead to dismiss the

action without prejudice. Trujillo v. Williams, 465 F.3d 1210, 1222-23 (10th Cir. 2006). In making

this decision, the Court considers “whether the claims would be time barred if filed anew in the

proper forum, whether the claims alleged are likely to have merit, and whether the claims were filed

in good faith or if, on the other hand, it was clear at the time of filing that the court lacked the

requisite jurisdiction.” Id. at 1223 n.16.

        Because it appears that defendant’s motion is without merit, the Court overrules the motion


        2
                Ordinarily, before the Court recharacterizes a pro se document as a Section 2255
motion, it will provide defendant an opportunity to withdraw the motion (in the event he wants to
wait and combine the arguments with a subsequent motion) or to supplement it. See Castro v.
United States, 540 U.S. 375, 383 (2003). Where the motion is untimely, however, defendant is not
prejudiced by lack of such notice. See Torres, 282 F.3d at 1245-46.

                                                  -2-
 Case 2:07-cr-20167-KHV          Document 709         Filed 07/31/12      Page 3 of 4




rather than transferring it to the Tenth Circuit Court of Appeals. See In re Cline, 531 F.3d at 1252

(district court may refuse to transfer motion where motion fails on its face to satisfy any of

authorization standards of Section 2255(h)); Phillips v. Seiter, 173 F.3d 609, 610 (7th Cir. 1999)

(waste of judicial resources to require transfer of frivolous, time-barred cases). A second or

successive motion under 28 U.S.C. § 2255 may be filed in the district court if the court of appeals

certifies that the motion contains (1) newly discovered evidence that, if proven and viewed in light

of the evidence as a whole, would be sufficient to establish by clear and convincing evidence that

no reasonable factfinder would have found the movant guilty of the offense; or (2) a new rule of

constitutional law, made retroactive to cases on collateral review by the Supreme Court, that was

previously unavailable. 28 U.S.C. § 2255(h).

       Defendant seeks relief for substantially the same reasons stated in his motion under 28

U.S.C. § 2255, which the Court overruled as untimely. See Memorandum And Order (Doc. #676).

In that order and in the order on defendant’s motion to reconsider, the Court explained that

defendant’s claim was untimely because defendant filed his Section 2255 motion more than one year

after his conviction was final and he had not shown actual innocence. See Memorandum And Order

(Doc. #680) at 2-4; Memorandum And Order (Doc. #676) at 3-5. On appeal, the Tenth Circuit Court

of Appeals held that this Court’s conclusion was not reasonably debatable. See Order Denying

Certificate Of Appealability (Doc. #700) filed April 19, 2012. In the present motion, defendant

simply re-asserts the same claim under the guise of a motion for audita querela. For substantially

the reasons stated in the Court’s prior orders and the Tenth Circuit’s order denying a certificate of

appealability, the Court finds that defendant’s present motion should be overruled for lack of




                                                -3-
 Case 2:07-cr-20167-KHV           Document 709         Filed 07/31/12     Page 4 of 4




jurisdiction. For reasons stated above, the Court declines to transfer the present motion to the Court

of Appeals for processing.

       IT IS THEREFORE ORDERED that defendant’s Motion Audita Querela Pursuant To

Title 28 U.S.C. 1651 All Writs Act Asking District Court To Correct Its Final 21.846 Conspiracy

Conviction Sentencing Judgment Consistent With The Court’s Factual Finding At Sentencing That

Defendant Was Not Guilty Or Reasonably Foreseeable For 5 Kilos Of Cocaine Or 50 Grams Of

Cocaine Base In Violation Of 21.841(b)(1)(A) Offense Penalties (Doc. #703) filed May 29, 2012,

which the Court construes as a second or successive petition under 28 U.S.C. § 2255, be and hereby

is OVERRULED for lack of jurisdiction.

       Dated this 31st day of July, 2012 at Kansas City, Kansas.

                                               s/ Kathryn H. Vratil
                                               KATHRYN H. VRATIL
                                               United States District Judge




                                                 -4-
